      Case 3:19-md-02913-WHO Document 914 Filed 08/21/20 Page 1 of 7



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 4
                                   UNITED STATES DISTRICT COURT
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                                NORTHERN DISTRICT OF CALIFORNIA
 6
                                       SAN FRANCISCO DIVISION
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 8    IN RE JUUL LABS, INC., MARKETING,                 Case No. 19-md-02913-WHO
      SALES PRACTICES, AND PRODUCTS
 9    LIABILITY LITIGATION                              CASE MANAGEMENT ORDER NO. 11:
                                                        RE REMOTE DEPOSITIONS
10

11    This Document Relates to:
      ALL ACTIONS
12

13

14          The COVID-19 global pandemic has affected virtually every aspect of American society,

15   including civil litigation in this Court and across the federal system. Governmental authorities

16   have responded to this public health emergency by imposing travel restrictions, “stay at home”

17   directives, and other social distancing measures designed to slow the communal spread of the

18   disease. While the Parties may prefer to conduct in-person depositions in this litigation, social

19   distancing restrictions and personal and public health concerns may sometimes preclude this

20   option. Pursuant to Fed. R. Civ. P. 30(b)(4), this Court issues the following protocol to govern

21   depositions where all, or most of the participants, including the court reporter and videographer,

22   are attending remotely (“Remote Deposition”).

23          1.      Subject to all of the conditions below, depositions for cases filed in In Re Juul

24   Labs, Inc., Marketing, Sales Practices, And Products Liability Litigation, Case No. 2:19-md-

25   02913, may be noticed to take place remotely via video or internet video conference technology.

26          2.      The protocols in this Order supplement Case Management Order No. 10

27   Deposition Protocol (Dkt. 573) and Case Management Order No. 9 Joint Coordination Order

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                                                                            CASE MANAGEMENT ORDER NO. 11
                                                     -1-                           RE REMOTE DEPOSITIONS
                                                                                  CASE NO. 19-MD-02913-WHO
      Case 3:19-md-02913-WHO Document 914 Filed 08/21/20 Page 2 of 7



 1   (Dkt. 572). If the deposition protocols in this Order are deemed to conflict with any provisions in

 2   the Joint Coordination Order or Deposition Protocol, the protocols in this Order shall control.

 3          3.      The protocols in this Order shall apply to depositions of fact witnesses, including

 4   those taken pursuant to the Deposition Protocol, and supplement that Order. For the avoidance of

 5   doubt, this Order shall not apply to expert depositions. Protocols for remote depositions not

 6   covered by this Order will be set forth in future order(s).

 7          4.      Any Remote Deposition taken pursuant to this Court’s Orders must comply with

 8   the requirements in Fed. R. Civ. P. 30(b)(5). This includes the requirements that, (1) “[u]nless the

 9   parties stipulate otherwise, a deposition must be conducted before an officer appointed or

10   designated under Rule 28,” and (2) that officer must administer the oath or affirmation to the

11   deponent. A Remote Deposition taken pursuant to this Case Management Order will be deemed

12   to have been taken before an appropriate officer despite the court reporter not being in the same

13   physical location as the witness—as long as the court reporter attends the deposition by the same

14   remote means as the other participants and is able to hear and communicate with other attendees.

15   To the extent permitted by the law of the state in which the witness is located, the witness may be

16   sworn in remotely with the same effect as an oath administered in person.

17          5.      The deposition notice for any Remote Deposition pursuant to Fed. R. Civ. P. 30

18   must list the location(s) (city and state) from where the witness, the court reporter, and the

19   videographer will attend.

20          6.      All deposition notices must identify the company that will host and record the
21   Remote Deposition (the “Remote Deposition Vendor”) and contain a general description of how

22   those attending may access the remote connection being utilized (e.g., GoToMeeting, Zoom,

23   WebEx). The party noticing the deposition must provide the witness and all other attendees with

24   detailed instructions regarding how to participate in the Remote Deposition at least three business

25   days before the deposition—and will use best efforts to provide the detailed instructions at least

26   five business days before the deposition. The noticing party shall bear the costs of the Remote
27   Deposition Vendor, except that if another party objects to the technology proposed by the

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                                                                                  CASE MANAGEMENT ORDER
                                                      -2-                           RE REMOTE DEPOSITIONS
                                                                                   CASE NO. 19-MD-02913-WHO
      Case 3:19-md-02913-WHO Document 914 Filed 08/21/20 Page 3 of 7



 1   noticing party, and the noticing party is amenable to use another technology proposed by the

 2   objecting party, the objecting party shall bear the costs of the technology proposed.

 3          7.         To host a Remote Deposition, a Remote Deposition Vendor must have

 4   implemented adequate security measures to ensure the confidentiality of the Remote Deposition

 5   (e.g., video and audio feeds, exhibits). These security measures include using tools such as a

 6   “virtual waiting room” that allows the court reporter to admit only individuals authorized to

 7   attend the deposition.

 8          8.         At least 24 hours before the Remote Deposition is scheduled to start, noticing

 9   counsel, defending counsel, the witness, and the Remote Deposition Vendor must conduct a test

10   of the system, equipment, and internet connection that will be used to conduct the Remote

11   Deposition (the “Remote Deposition Technology”). If a witness noticed for a Videoconference

12   Deposition does not have a webcam-equipped tablet, desktop or laptop computer that can be used

13   during the deposition, counsel defending the deposition must provide the deponent with an

14   agreed-upon tablet, desktop, or laptop computer containing the audio, webcam, and Wi-Fi

15   connectivity needed to participate in the deposition. If a witness noticed for a Videoconference

16   Deposition is not being defended by counsel for any Party to this action, the Parties will confer

17   regarding a reasonable method for providing the deponent with an agreed-upon tablet, desktop, or

18   laptop computer containing the audio, webcam, and Wi-Fi connectivity needed to participate in

19   the deposition.

20          9.         At the time of the deposition, the witness must advise the court reporter of his or
21   her physical location. The witness should endeavor to participate in the deposition from a quiet,

22   well-lit, indoor location, while seated in front of a neutral background, and facing the camera

23   being used to record the witness. Only the witness’s counsel and in-house counsel is/are

24   permitted to be in the same location as the witness during remote testimony, if the witness

25   consents and such attendance is consistent with social distancing restrictions. Unless otherwise

26   stipulated by the noticing party and counsel for the witness, the deponent participating in a
27   Remote Deposition must participate through video conference (or other remote means capable of

28   producing audio-video transmission), as opposed to telephone or other audio-only means, so that
                                                                                    CASE MANAGEMENT ORDER
                                                        -3-                           RE REMOTE DEPOSITIONS
                                                                                     CASE NO. 19-MD-02913-WHO
      Case 3:19-md-02913-WHO Document 914 Filed 08/21/20 Page 4 of 7



 1   the officer and noticing party may properly identify and observe the witness throughout the

 2   deposition.

 3          10.     If counsel for the witness attends the deposition in person, that counsel shall also

 4   log into the Remote Deposition, so that all participants can see and hear the counsel for the

 5   witness at all times that the deposition is being conducted on the record. Both counsel and the

 6   witness shall also comply with any government law, regulation or guidance regarding public

 7   health and safety during the COVID-19 pandemic.

 8          11.     To avoid any potential disruptions of a Remote Deposition, those attending must

 9   enable “do not disturb” settings for applications not in use, including but not limited to, Skype,

10   instant messaging, and/or e-mail notifications. While on the record, the witness must put away

11   and not look at devices other than the device(s) being used for the Remote Deposition. While on

12   the record, there shall be no other programs displaying images on the witness’s screen other than

13   the agreed-upon Remote Deposition platform and any exhibits that have been marked for the

14   deposition. The Court recognizes that the microphones for certain attendees (such as the witness,

15   the court reporter, the attorney taking the deposition, and the attorney defending the deposition)

16   must remain on when the deposition is on the record. Other attendees should mute microphones

17   when not speaking. The participating attorneys may be visible to all other participants during the

18   deposition.

19          12.     Each witness, attorney, or other person attending the deposition, either remotely or

20   in-person, shall be identified on the record by name and physical location at the beginning of the
21   deposition (except for consulting experts). Any individual participating remotely should not do

22   so in a public space. Participants should ensure that they are acting in compliance with the

23   governing protective order. After the deponent has been sworn, the deponent must confirm that

24   he or she has either powered down or, at a minimum, temporarily disabled the listening function

25   on any Google Home, Amazon Echo, or any other known “listening devices” placed within

26   listening distance of the deponent.
27          13.     A videographer employed by the Remote Deposition Vendor will record the

28   witness’s deposition testimony, by the best technological means available, including remote video
                                                                                  CASE MANAGEMENT ORDER
                                                     -4-                            RE REMOTE DEPOSITIONS
                                                                                   CASE NO. 19-MD-02913-WHO
      Case 3:19-md-02913-WHO Document 914 Filed 08/21/20 Page 5 of 7



 1   capture/recording. The video recording of the deposition may only be suspended during the

 2   deposition upon stipulation by counsel conducting and defending the deposition. With the

 3   exception of the videographer and the court reporter, the deposition may not otherwise be

 4   recorded electronically without the consent of the Parties. The videographer must only record (1)

 5   the audio and video of the witness’s testimony; (2) the video of any documents being displayed or

 6   annotated for the witness during the deposition; (3) the audio of the attorney actively questioning

 7   the witness; and (4) audio of the defending attorney not actively questioning the witness (or any

 8   other attorney making an objection on the record).

 9           14.     Acceptable Exhibit Formats: During the deposition, full and complete copies of

10   deposition exhibits must be provided to the witness and counsel who are attending the deposition.

11   Deposition exhibits may be made available in physical (hardcopy) form or via the Remote

12   Deposition Technology, file sharing software, or other electronic means.

13           15.     Electronic Exhibits: Exhibits provided electronically shall be accessible such that

14   the deponent and counsel may review the entire exhibit on their own computers or devices,

15   without reliance on the noticing attorney’s “share screen.” In the case of electronic exhibits, a

16   witness may be required to use a keyboard, mouse, or other similar means to open and/or advance

17   the pages of an exhibit. In such instances, access to a full copy of the deposition exhibit

18   electronically via iPad, tablet, laptop, or other devices, will be deemed to equate to hardcopy

19   access. The fact that a witness was provided with only an electronic copy of an exhibit will be an

20   insufficient basis, by itself, to object to the admissibility of that exhibit at trial.
21           16.     Hardcopy Exhibits: Notwithstanding the foregoing and only if agreed in writing

22   by the participants in a particular deposition, all documents any attorney expects to use as exhibits

23   at a deposition that exceed 100 pages shall be sent to the witness in advance of the deposition in

24   hard copy form. In addition, the Parties agree to work in good faith to reach agreements

25   regarding the provision of hard copy exhibits to a deponent for whom electronic-only versions are

26   particularly problematic. To the extent hardcopy exhibits are provided to the deponent, the
27   package containing the documents shall be sealed, and the witness shall unseal it only when asked

28   to do so on the record at the deposition.
                                                                                       CASE MANAGEMENT ORDER
                                                         -5-                             RE REMOTE DEPOSITIONS
                                                                                        CASE NO. 19-MD-02913-WHO
      Case 3:19-md-02913-WHO Document 914 Filed 08/21/20 Page 6 of 7



 1            17.   While the deposition is on the record, no person aside from the attorney

 2   conducting the examination is permitted to communicate with the witness directly or indirectly by

 3   any means not recorded in the same manner as the deposition itself (e.g., no private messages,

 4   text messages or emails). However, the witness’s counsel may communicate with the witness in

 5   person, telephonically, or by other electronic means during breaks (including, but not limited to,

 6   by means of the use of remote connection software), consistent with Federal Rule of Civil

 7   Procedure 30(c)(1). To the extent that the Remote Deposition Vendor’s technology includes a

 8   “chat” feature or similar capabilities, the noticing party shall ensure that the Remote Deposition

 9   Vendor either: (a) disables the feature or (b) implements settings (if available) that require all

10   communications to be seen by all Participants. Nothing in this provision is to be read as

11   prohibiting otherwise appropriate communications among participants and/or attendees by other

12   means.

13            18.   During breaks in the deposition, the Parties may use the breakout room feature

14   provided by the Remote Deposition Vendor, which simulates a live breakout room through

15   videoconference. Conversations in the breakout rooms shall not be recorded. The breakout

16   rooms shall be established by the Remote Deposition Vendor prior to the deposition and

17   controlled by the Remote Deposition Vendor.

18            19.   Technical difficulties, including but not limited to pauses, lags, and/or

19   interruptions in Internet connection shall be addressed as they would be in any in-person

20   deposition. The Parties shall go off the record and attempt to resolve the issue. Technical
21   difficulties will not result in waiver of objections by any party. If any pauses, lags, and/or

22   disruptions are persistent or prolonged, the Parties should: (1) extend the Remote Deposition by

23   an amount of time equal to the duration of the pause, lag, and/or disruption, provided that the

24   additional time is less than an hour; or (2) consider rescheduling the Remote Deposition for a

25   later date, if the additional time required is an hour or more.

26            20.   Any Remote Depositions conducted in accordance with these protocols may be
27   admitted at trial with the same effect and pursuant to the same evidentiary rules as one recorded

28   in-person. The “Confidential” or “Highly Confidential” designation of all or portions of Remote
                                                                                   CASE MANAGEMENT ORDER
                                                      -6-                            RE REMOTE DEPOSITIONS
                                                                                    CASE NO. 19-MD-02913-WHO
      Case 3:19-md-02913-WHO Document 914 Filed 08/21/20 Page 7 of 7



 1   Depositions will be governed by the provisions MDL Protective Order and the Deposition

 2   Protocol (ECF Nos. 308, 573).

 3          21.     The Parties acknowledge that Remote Depositions may take longer to complete

 4   than an in-person deposition due to logistical challenges beyond anyone’s control, and because it

 5   may take time for everyone to adjust to the technology. While the Parties will endeavor in good

 6   faith to comply with the time limits set forth in the Deposition Protocol, there may be

 7   circumstances under which depositions may need to exceed those limits. The Parties will be

 8   respectful and collaborative under these circumstances and will make good faith efforts to make

 9   reasonable accommodations to allow all Parties adequate additional time to conduct a fair

10   examination. Nothing in this Order prevents a Party from moving for a protective order under

11   Fed. R. Civ. P. 26(c) to require that a given individual deposition proceed in person. However,

12   where a Remote Deposition has been requested by the deponent, the court reporter, or an

13   attorney, an in-person deposition may not be conducted without leave of the court, pursuant to the

14   procedures laid out in Section 7 of the Stipulated Joint Coordination Order (“Discovery Dispute

15   Resolution”). Further, nothing in this Order precludes counsel for a witness from being in the

16   same room as the witness, if the witness consents and such attendance is consistent with social

17   distancing restrictions.

18          SO ORDERED, on this 21st day of August, 2020.

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21                                                         Judge William H. Orrick
                                                           UNITED STATES DISTRICT JUDGE
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                                                                                 CASE MANAGEMENT ORDER
                                                     -7-                           RE REMOTE DEPOSITIONS
                                                                                  CASE NO. 19-MD-02913-WHO
